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                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




Hunter Mountain Investment Trust                        §
                Plaintiff                               §
                                                        §
                                                        §
                      v.                                §     Case No. 3:23-cv-02071-E
                                                        §
                                                        §
Highland Capital Management, L.P.                       §
                Defendant                               §


                           APPLICATION FOR ADMISSION PRO HAC VICE
                            (Complete all questions; indicate “N/A” if necessary.)

I.        Applicant is an attorney and a member of the law firm of (or practices under the name of)

Hayley R. Winograd with Pachulski Stang Ziehl & Jones LLP                                     , with offices at

780 Third Avenue, 34th Floor
(Street Address)

New York                                                      NY                     10017
(City)                                                       (State)                 (Zip Code)

 (212) 561-7700                                               (212) 561-7777
(Telephone No.)                                               (Fax No.)




II.       Applicant will sign all filings with the name Hayley R. Winograd                                    .


III.      Applicant has been retained personally or as a member of the above-named firm by:
                                          (List All Parties Represented)

Highland Capital Management, L.P.
Highland Claimant Trust




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
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IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                     New York                        , where Applicant regularly practices law.       _______________


                    5612569
Bar license number:_______________                          05/14/2018
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

U.S. Court of Appeals, 5th Circuit        03/24/21                                   Active

U.S. District Court, SDNY                 03/01/22                                   Active

U.S. District Court, WDNY                 03/24/21                                   Active

U.S. Court of Appeals, 2nd Circuit        03/14/22                                   Active


VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:

N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):

N/A
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            IX.       Applicant has filed for pro hac vice admission in the United States District Court for the
            Northern District of Texas during the past three (3) years in the following matters:

            Date of Application:                    Case No. And Style:

            SEE ATTACHED




                                             (If necessary, attach statement of additional applications.)


            X.        Local counsel of record associated with Applicant in this matter is

            HAYWARD PLLC                                                                                              , who has offices at

            10501 N. Central Expy, Ste. 106
            (Street Address)

            Dallas                                                                TX                            75231
            (City)                                                               (State)                        (Zip Code)


             (972) 755-7100                                                       (972) 755-7110
            (Telephone No.)                                                       (Facsimile No.)



            XI.       Check the appropriate box below.
                      For Application in a Civil Case

                       ✔        Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                                F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                                comply with the standards of practice adopted in Dondi and with the local civil rules.
                      For Application in a Criminal Case
                                Applicant has read and will comply with the local criminal rules of this court.


            XII.      Applicant respectfully requests to be admitted to practice in the United States District Court for
            the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
            document has been served upon each attorney of record and the original upon the clerk of court,
            accompanied by a $100 filing fee, on this the              24th     day of October                                , 2023         .



                                                                                  Hayley R. Winograd
                                                                                  Printed Name of Applicant


                                                                                  Signature
If the applicant files this document through the applicant’s electronic-filing account, the applicant’s typed name on the signature block constitutes the
applicant’s signature. If the applicant does not file this document through the applicant’s electronic-filing account, the applicant must sign on the
signature line.
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                    STATEMENT OF ADDITIONAL APPLICATIONS

IX.    Applicant has filed for pro hac vice admission in the United States District Court for the
Northern District of Texas during the past three (3) years in the following matters

Highland Capital Management LP et al v. Highland Capital Management Fund Advisors LP,
Case No. 3:21-cv-00881-X

Highland Capital Management Fund Advisors, L.P., et al. vs. Highland Capital Management,
L.P., Case No. 3:22-cv-02170-S (NDTX)

NexPoint Advisors LP, et al. vs. Highland Capital Management, L.P., Case No. 23-00573
(NDTX)

Charitable DAF Fund LP et al v. Highland Capital Management LP, Case No. 3:23-cv-01503-B
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           Appellate Division of the Supreme Court
                     of the State of New York
                    First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                      Hayley R. Winograd
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on May 14, 2018,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of New York on
                             October 10, 2023.




                                        Clerk of the Court




CertID-00141002
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                  Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                 MARGARET SOWAH
     PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                        Susanna Rojas
                                                        Clerk of the Court




Revised October 2020


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